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 8                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
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       IRONWORKS PATENTS, LLC,                 Case No. 2:18-cv-02472-AB-AGR
11
                  Plaintiff,
12
       v.                                      [PROPOSED] ORDER ON
13                                             STIPULATION OF DISMISSAL
14     TCL COMMUNICATION
15     TECHNOLOGY HOLDINGS LTD
       (TCT);
16     TCL CORPORATION and
17     TCT MOBILE (US) INC.
18
                  Defendants.
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                                                         Order on Stipulation of Dismissal
                                                                 2:18-cv-02472-AB-AGR
     Case 2:18-cv-02472-AB-AGR Document 63 Filed 02/04/19 Page 2 of 2 Page ID #:252


 1          Before the Court is Plaintiff Ironworks Patents, LLC (“Ironworks”) and
 2
      Defendants TCL Communication Technology Holdings LTD (TCT), TCL Corporation,
 3
      and TCT Mobile (US) Inc. (“Defendants”) Stipulation of Dismissal.
 4
 5          IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
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            That all claims, counterclaims, and defenses that have been, or could have been,
 7
      asserted in this lawsuit against TCL Communication Technology Holdings LTD (TCT),
 8
 9    TCL Corporation, and TCT Mobile (US) Inc. by Ironworks Patents, LLC are dismissed
10
      with prejudice.
11
            That all claims, counterclaims, and defenses that have been or could have been
12
13    asserted in this lawsuit against Ironworks Patents, LLC by TCL Communication
14
      Technology Holdings LTD (TCT), TCL Corporation, and TCT Mobile (US) Inc. are
15
      dismissed with prejudice.
16
17          That all attorneys' fees, costs of court, and expenses shall be borne by each party
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      incurring the same.
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            That the Court shall retain jurisdiction to enforce the settlement agreement.
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21          IT IS SO ORDERED.
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23    DATED:      2-4-2019
24                                                            Judge André Birotte Jr.
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                                                               Order on Stipulation of Dismissal
                                                                       2:18-cv-02472-AB-AGR
